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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

                   Plaintiff,
                                            Case No. 15-20652
 vs.
                                            HON. GEORGE CARAM STEEH
 D-1 BILLY ARNOLD,
 D-5 QUINCY GRAHAM,
 D-7 JEROME GOOCH,
 D-8 MICHAEL ROGERS,
 D-12 JEFFERY ADAMS,

               Defendants.
 _____________________________/

            ORDER GRANTING GOVERNMENT’S MOTION TO
            EMPANEL A SEMI-ANONYMOUS JURY [DOC. 584]

       This matter is before the court on the government’s motion to

 empanel a semi-anonymous jury for Trial Group #1. The government asks

 that the court permit counsel for both parties to be privy to the names of

 potential jurors, but not to share that information with anyone else,

 including the defendants. The government also asks that the court order

 that neither party is permitted to conduct their own investigation outside of

 court to corroborate what a potential juror says in their questionnaire or in

 voir dire, and that surveillance or monitoring of juror’s use of social media



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 similarly not be permitted. Defendants Billy Arnold and Jeffery Adams filed

 objections to the government’s motion.

       It is well-established in the Sixth Circuit that “[t]he decision to

 empanel an anonymous jury is within the sound discretion of the trial court.”

 United States v. Lawson, 535 F.3d 434, 439 (6th Cir. 2008). The United

 States Code and Local Court Rules expressly permit anonymous juries

 when the interest of justice so requires. See 28 U.S.C. § 1863(b)(7);

 Eastern District of Michigan’s Juror Selection Plan, 13-AO-016, § (t)(3). A

 district court is to look at the totality of the circumstances, including the

 number of defendants, the nature of the charges, an association with an

 organization with a long history of crime or violence, and the length of

 potential sentences. United States v. Warman, 578 F.3d 320, 344 (6th Cir.

 2009).

       The Sixth Circuit has recognized that circumstances where “the

 anonymity of a jury should be preserved” include those where (1) the

 defendants are alleged to have participated “in large scale organized crime,

 and who participated in mob-style killings and had previously attempted to

 interfere with the judicial process;” (2) the “defendants have had a history of

 attempted jury tampering and serious criminal records;” or “there are

 “allegations of dangerous and unscrupulous conduct by the defendant[s],


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 coupled with extensive pretrial publicity.” United States v. Talley, 164 F.3d

 989, 1001-02 (6th Cir. 1999).

       When deciding whether to empanel an anonymous jury, “the court

 must ensure that the defendant retains his or her right to an unbiased jury

 by conducting a voir dire designed to uncover bias as to issues in the cases

 and as to the defendant himself, and by providing the jury a neutral and

 nonprejudicial reason for requiring that it be anonymous, so that jurors will

 refrain from inferring that anonymity was necessary due to the character of

 the defendant.” Talley, 164 F.3d at 1001-02.

       In this case, the defendants in Trial Group #1, along with those in

 Trial Groups #2 and 3, as well as other persons not named in the Fifth

 Superseding Indictment, are alleged to be members of a violent criminal

 enterprise with a history of crime and violence, known as the Seven Mile

 Bloods. The indictment includes allegations of murders and shootings

 occurring over a period of years. Discovery documents acts committed by

 defendant Arnold of violence against witnesses in previous prosecutions.

 The “dangerous and unscrupulous” nature of the criminal organization is

 one factor the court considers in making its determination whether to

 empanel an anonymous jury in the interest of justice and juror safety.




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       The charges articulated in the Fifth Superseding Indictment, brought

 against all members of Trial Group #1, include one count of RICO

 conspiracy, in violation of 18 U.S.C. § 1962(d), and one count of

 possession of a firearm in furtherance of a crime of violence, in violation of

 18 U.S.C. § 924(c). Defendant Arnold faces multiple additional charges

 ranging from murder and attempted murder in aid of racketeering, to use of

 a firearm during and in relation to a crime of violence resulting in death. If

 convicted, defendants will face lengthy sentences, increasing the likelihood

 that they might “resort to extreme measures to influence the outcomes of

 their trials.” Warman, 578 F.3d at 344.

       Preserving the anonymity of the jury will not unfairly prejudice

 defendants or implicate their presumptions of innocence because of

 safeguards which are already part of the court procedure. In addition, the

 parties have prepared an extensive pretrial questionnaire, which requires

 the prospective jurors to answer detailed questions about their

 communities, education, and work experiences. See United States v.

 Kilpatrick, 2012 WL 3237147, *3 (E.D. Mich. 2012). Of course the

 defendants will have another level of bias-protection from potential jurors in

 the in-court voir dire. The court will also give the jurors a neutral and non-




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 prejudicial reason to explain why their anonymity is required, such as that

 cited with approval by the Tally court:

             This case is one where there is likely to be a good
             bit . . . of media interest, because it is important to
             all of the parties that there not be any media contact
             with jurors . . . until this case is over, we are using
             your juror numbers during this process and at all
             times do not give me your names, do not give the
             parties your names, but always when you are
             addressing the court refer to your juror number. We
             do this for your benefit to make sure . . . that you
             are not bothered or approached by any media about
             this case or any aspect of it.

 Tally, 164 F.3d at 1002 n.7.

       The government requests that the court order that neither party is

 permitted to conduct their own investigation outside of court in an attempt

 to corroborate what a potential juror says in voir dire, or their questionnaire,

 and that surveillance or monitoring of jurors’ use of social media is similarly

 not permitted. Defendant Adams opposes the government’s request and

 asks that defense counsel be allowed to search jurors’ social media

 accounts to assure that the jurors have not violated their oaths. There is no

 authority supporting a right to investigate jurors outside the courtroom. In

 fact, in most cases, jurors’ names are provided to counsel on the day of

 jury selection and there is no opportunity to undertake an investigation

 outside the courtroom. In this case, counsel will have the benefit of jury


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 questionnaires in advance, which should provide a wealth of information

 that can be explored during individual voir dire. Now, therefore,

       IT IS HEREBY ORDERED that the government’s motion to empanel

 a semi-anonymous jury is GRANTED.

       IT IS HEREBY FURTHER ORDERED that counsel for both sides will

 be privy to names of potential jurors, but they may not share that

 information with anyone else on their team that is not counsel of record,

 including defendants.

       IT IS HEREBY FURTHER ORDERED that neither party may conduct

 their own investigation so as to corroborate statements in the juror

 questionnaires, or statements made during voir dire, or to ensure that jurors

 or potential jurors have not violated their oath or the court’s directions. This

 prohibition extends to searches of the social media accounts of jurors and

 potential jurors.

       IT IS SO ORDERED.

 Dated: December 20, 2017

                                      s/George Caram Steeh
                                      GEORGE CARAM STEEH
                                      UNITED STATES DISTRICT JUDGE




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                                 CERTIFICATE OF SERVICE

                  Copies of this Order were served upon attorneys of record on
                    December 20, 2017, by electronic and/or ordinary mail.

                                     s/Marcia Beauchemin
                                         Deputy Clerk




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